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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA
__________________________________________
                                           )
SECURITIES AND EXCHANGE                    )
COMMISSION,                                )
                                          )
                        Plaintiff,        )
                                          )
                  v.                      )  No. 1:23-cv-01599-ABJ-ZMF
                                          )
BINANCE HOLDINGS LIMITED,                 )
BAM TRADING SERVICES INC.,                )
BAM MANAGEMENT US HOLDINGS                )
INC., AND CHANGPENG ZHAO,                 )
                                          )
                        Defendants.       )
__________________________________________)

                   PLAINTIFF SECURITIES AND EXCHANGE
             COMMISSION’S NOTICE OF SUPPLEMENTAL AUTHORITY

       Pursuant to the Court’s January 22, 2024 Minute Order, Plaintiff Securities and Exchange

Commission (“SEC”) respectfully submits this Notice of Supplemental Authority setting forth

the following citations for certain cases it discussed at the January 22, 2024 hearing:

   •   Owen v. Elastos Found., No. 1:19-cv-5462-GHW, 2021 WL 5868171, at *9-16
       (S.D.N.Y. Dec. 9, 2021)

   •   Patterson v. Jump Trading LLC, No. 22-cv-03600-PCP, 2024 WL 49055, at *11-12
       (N.D. Cal. Jan. 4, 2024)

   •   Houghton v. Leshner, No. 22-cv-07781-WHO, 2023 WL 6826814, at *2-5 (N.D. Cal.
       Sept. 20, 2023)

   •   Zakinov v. Ripple Labs, Inc., No. 18-cv-06753-PJH, 2020 WL 922815, at *11-12 (N.D.
       Cal. Feb. 26, 2020)
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Dated: January 23, 2024            Respectfully submitted,

                                   s/Matthew Scarlato
                                   Matthew Scarlato (D.C. Bar No. 484124)
                                   Jennifer L. Farer (D.C. Bar No. 1013915)
                                   J. Emmett Murphy
                                   David A. Nasse (D.C. Bar No. 1002567)
                                   Jorge G. Tenreiro
                                   Elisa S. Solomon
                                   SECURITIES AND EXCHANGE
                                    COMMISSION
                                   100 F Street, NE
                                   Washington, DC 20549
                                   (202) 551-3749 (Scarlato)
                                   scarlatom@sec.gov

                                   Attorneys for Plaintiff




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